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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF i DEFENDANT

[N RE: ESTATE OF FERDINAND E. MARCOS Homan RIGHTS LITIGATION

pocket No. MDL 840 _

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DATE NR. PROCEEDINGS
1999

Apr 15 3727 | PROOF of Claim Form For Torture Victims by Modesto Floranda

3728 | PROOF of Claim Form For Torture Victims by Mariam C. Dimaranan

3729 | PROOF of Claim Form For Torture Victims by Virgilio Halcon Moraleda, Deceased by
Lorna H. Moraleda

3730 | PROOF of Glaim Form For Torture Victims by Eusebio L Abena

3731 | PROOF of Claim Form For Torture Victims by Tito B. Ballete

3732 | PROOF of Claim Form For Summary Execution Victims by Presiliana Dumandan by
Faustina Dumandan

3733 : PROOF of Claim Form For Summary Execution Victims by Manolo M. Lausin by Lydia
V. Lausin

3734 | PROOF of Claim Form For Summary Execution Victims by Dionisio A. Villaluz by Lolito
Villaluz :

3735 | PROOF of Claim Form For Summary Execution Victims by Zosimo G. Guballo by RonaldoiT.
Guballo

3736 : PROOF of Claim Form For Summary Execution Victims by Taungan Olangeaya by Canta
Olangcaya

3737 | PROOF of Claim Form For Summary Execution Victims by Luisa Alequiso by Lilibeth
A. Castillo ,

3738 | PROOF of Claim Form For Summary Execution Victims by Casiano Buctot by Apolonio
Buctot

3739 | PROOF of Claim Form For Summary Execution Victims by Marcelina 8. Vega

3740 | PROOF of Claim Form For Summary Execution Victims by Benedicto M. Pasetes by
Ester Matawaran Pasetes

3741 | PROOF of Claim Form For Summary Execution Victims by Zosime Oso Birera by Antonia
G. Birera

3742 | PROOF of Claim Form For Summary Execution Victims by Aldrick Garcia Sanchez by
Luna Zaldivar Sanchez, Sr.

3743 | PROOF of Claim Form For Summary Execution Victims by Seberino T. Babr by Rosalinda

Ubud

3744 | PROOF of Claim Form For Summary Execution Victims by Alejandro Tidula by Arnel
Tidula

3745 | PROOF of Claim Form For Summary Execution Victims by Pablito ¥. Pacis by Domingo
Pacis

3746 | PROOF of Claim Form For Summary Execution Victims by Pablito V. Pacis by Dominga
Pacis

3747 | PROOF of Claim Form For Summary Execution Victims by Ben Vita by Gloria Vita
3748 | PROOF of Claim Form For Summary Execution Victims by Luna Zaldivar Sanchez
3749 | PROOF of Claim Form For Summary Execution Victims by Luis Manuel Mijares by
Priscilla C. Mijares

3750 | PROOF of Claim Form For Summary Execution Victims by Segundo R. Pecenio by Pio
R. Pececnio

3751 | PROOF of Claim Form For Disappearance Victims by Rodrigo Dacles by Elpedio G.,
Dacles

3752 | PROOF of Claim Form For Disappearance Victims by Tonting Lao by Johuria D. Lao
3753 | PROOF of Claim Form For Disappearance Victims by Julieto N. Mahinay, Sr. by Asista

A. Mahianay
3754 | PROOF of Claim a For Disappearance Victims by Primitivo Medrana Mijares by
sc a Mijares
16 3755 | PROOF Pat iii? F Form For Torture Victims by Presentacion Perlas

3756 |PROOF of Claim Form For Torture Victims by Agnote Bonifacio
3757 |PROOF of Claim Form For Torture Victims by Lucilvia E. Ilinon

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Civil DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | ee
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PROCEEDINGS

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DATE
1999:
Apr 16 : 3758 PROOF of Claim Form For Torture Victims by Solverio Cabasa, Deceased by Basalio
Cabasa
3759 | PROOF of Claim Form For Torture Victims by Mariano D. Cabangonay
3760 PROOF of Claim Porm For Torture Victims by Serapio Cabasa, Deceased by Basilio
Cabasa
3761 | PROOF of Claim Form For Torture Victims by Melardo Babiana
3762 PROOF of Claim Form For Torture Victims by Inago M. Quebec
: 3763 PROOF of Claim Form For Torture Victims by Artemio Cabasa
3764 PROOF of Claim Form For Torture Victims by Maximo G. Feliciano, Deceased by Leoni
: EF. Arucan
: 3765 . PROOF of Claim Form For Torture Victims by Barcelona B. Leonardo
3766 PROOF of Claim Form For Torture Victims by Samuel H. Polesterio
3767 | PROOF.of Claim Form For Torture Victims by Felixberto S. Olalia, Sr., Deceased by
Isabel T. Olalia
3768 PROOF of Claim Form For Torture Victims by Crisotomo B. Urog
3769 PROOF of Claim Form For Torture Victims by Agapito L. Gaddi
: 3770) PROOF of Claim Form For Torture Victims by Narciso D. Emplay
3771 PROOF of Claim Form For Torture Victims by Clarito C. Elles
3772 | PROOF of Claim Form For Torture Victims by Arnulfo A. Terrada
3773 | PROOF of Claim Form For Torture Victims by Rolando V. Sagun
3774 | PROOF of Claim Form For Torture Victims by Luaihati M. Abreu
3775 | PROOF of Claim Form For Torture Victims by Ernesto R. Garcia
3776 | PROOF of Claim Form For Torture Victims by Romeo Q. Dorotan
3777 | PROOF of Claim Form For Torture Victims by Larry A. Vitor
3778 | PROOF of Claim Form For Torture Victims by Leonicio C. Banate, Jr.
3779 | PROOF of Claim Form For Torture Victims by Eustacio J. Casas
3780 > PROOF of Claim Form For Torture Victims by Adora M. Alcedo
3781} PROOF of Claim Form For Torture Victims by Francisco Ibabao, Sr.
| 3782 PROOF of Claim Form For Torture Victims by Daniel M. Abierra. Jr.
3783 | PROOF of Claim Form For: Torture Victims by Nicasio P. Roxas, Deceased by Mabel R.
Roxas
| 3784 | PROOF of Claim Form For Torture Victims by Victor Gerardo Bulato
/ 3785 PROOF of Claim Form For Torture Victims by Montecarlo Salilid
3786 | PROOF of Claim Form For Torture Victims by Esteban J. Manuel
| 3787 . PROOF of Claim Form For Torture Victims by Arsenio C. Mugot
3788 | PROOF of Claim Form For Torture Victims by Renato P. Romasanta, Deceased by
Liwayway P. Romasanta
3789 | PROOF of Claim Form For Torture Victims by Federico Bartolome
3790 | PROOF of Claim Form For Torture Victims by Marcela Penaflor
3791 | PROOF of Claim Form For Torture Victims by Quet-Eng Villamo
3792 | PROOF of Claim Form For Torture Victims by Umbra S$. Mama
3793 | PROOF of Claim Form For Torture Victims by Demaguil Mamobpon
3794 | PROOF of Claim Form For Torture Victims by Ziegfred G. Ramos
3795 | PROOF of Claim Form For Torture Victims by Carlos Aolesa
3796 | PROOF of Claim Form For Torture Victims by Sergio L. Bartolome
3797 PROOF of Claim Form For Torture Victims by Critina Barcedo
3798 | PROOF of Claim Form For Torture Victims by Modesto P. Pasana
3799 | PROOF of Claim Form For Torture Victims by Antonio Judimo
3800 | PROOF of Claim Form For Torture Victims by Ramon P. Rarama, Deceased by Cecelia
C. Racoma
3801 | PROOF of Claim Form For Torture Victims by Fe J. Agapito

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

HUMAN RIGHTS LITIGATION

pocket No. MBL 840 |

IN RE: ESTATE OF FERDINAND E. MARCOS
PAGE L48or_ PAGES
DATE NR. PROCEEDINGS
1999
Apr 16 3802 PROOF of Claim Form For Torture Victims by Camilo G. Almazan

3803 | PROOF of Claim Form For Torture Victims by Celedonio Bantigue

3804 | PROOF of Claim Form For Torture Victims by Antonio 5. Guidaben

3805 | PROOF of Claim Form For Torture Victims by Rolando A. Arconada

3806 | PROOF of Claim Form For Torture Victims by Adolfo Absalon

3807 | PROOF of Claim Form For Torture Victims by Cresencia M. Nablo

3808 PROOF of Claim Form For Torture Victims by Eduardo Aboganda

3809 | PROOF of Claim Form For Torture Victims by Francisco S. Portem, Deceased by Lourdes
5. Fortem

3810 | PROOF of Claim Form For Torture Victims by Juan E. Gajo

3811 | PROOF of Claim Form For Torture Victima by Victor Ventura Valellon

3812 PROOF of Claim Form For Torture Victims by Bienvenido "Benny" Mendiola

3813 | PROOF of Claim Form For Torture Victims by Eric F. Nacasabog

3814 | PROOF of Claim Form For Torture Victims by Saturnino S. Delos Santos, Deceased
by Marlo Delos Santos

3815 | PROOF of Claim Form For Torture Victims by Policarpio A. Rosales, Deceased by Noe]
M. Rosales

3816 | PROOF of Claim Form For Torture Victims by Azucena C. Epilepsia

3817 | PROOF of Claim Form For Torture Victims by Felessicimo C. Flores

3818 PROOF of Claim Form For Torture Victims by Jore Domine

3819 | PROOF of Claim Form For Torture Victims by Fedelina Villamonte

3820 | PROOF of Claim Form For Torture Victims by Manuel Laguitan

3821 | PROOF of Claim Form For Torture Victims by Claudio R. Pinca

3822 | PROOF of Claim Form For Torture Victims by Lito M. Acbar

3823 | PROOF of Claim Form For Torture Victims by Estelito N. dapanta, Sr.

3824 | PROOF of Claim Form For Torture Victims by Bernardo R. Valdez

3825 | PROOF of Claim Form For Torture Victims by Nieves Dolosa

3826 | PROOF of Claim Form For Torture Victims by Hamandre 5. Flores

3827 | PROOF of Claim Form For Torture Victims by Romeo Z. Romitman

3828 | PROOF of Claim Form For Torture Victims by Jose G. Obello, Deceased by Perfecta
C. Obello ch

3829 | PROOF of Claim Form For Torture Victims by Domingo Colocado

3830 PROOF of Claim Form For Torture Victima by Recilla P. Silvino

3831 , PROOF of Claim Form For Torture Victims by Leonida Delica~Ramos

3832 |PROOF of Claim Form For Torture Victims by Estanislao: P. Perlas

3833 |PROOF of Claim Form For Torture Victims by Benigno Cabigayan

3834 |PROOF of Claim Form For Torture Victims by Cesar G. Gojar, Deceased by Estefania
0. Gojar

3835 | PROOF of Claim Form For Torture Victims by Ofelia Binalay

3836 | PROQF of Claim Form For Torture Victims by Gemarino Avellino, Sr.

3837 !PROOF of Claim Form For Torture Victims by Edmundo C. Baay

3838 |PROOF of Claim Form For Torture Victims by Antonio §. Gardon

3839 | PROOF of Claim Form For Torture Victims by Reynaldo R. Garcia

3840 | PROOF of Claim Form For Torture Victims by Rizal T. Tubania

3841 |PROOF of Claim Form For Torture Victims by Eusebia Cielo

3842 PROOF of Claim Form For Torture Victims by Domingo BD. Tagapan

3843 | PROOF of Claim Form For Torture Victims by Ponciano Resuena

3844 | PROGF of Claim Form For Torture Victims by Miguil Capulas

3845 {PROOF of Claim Form For Torture Victims by Tomas Capulas

3846 | PROOF of Claim Form For Torture Victims by Enrico Capulas

3847 PROOF of Claim Form For Torture Victims by Nestor Agregado

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CIVIL DOCKET CONTINUATION SHEET

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PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

DEFENDANT

pocket No. MDL _840

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PROCEEDINGS

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DATE NR
1999 —
Apr 16 3848 PROOF of Claim Form For Torture Victims by Victoriano Tasane
: 3849 ° PROOF of Claim Form For Torture Victims by Nestor L. Mendoza
3850 PROOF of Claim Form For Torture Victims by Miguel S$. Berina
3851 PROOF of Claim Form For Torture Victims by Santes ¢G,. Narca
: 3852 | PROOF of Claim Form For Torture Victims by Enriquito 8. Lagrimas
/ 3853 PROOF of Claim Form For Torture Victims by Mabel R. Roxas
/ 3854 PROOF of Claim Form For Torture Victims by Randall B. Echanis
3855 PROOF of Claim Form For Torture Victims by Capiano Q. Redona
3856 PROOF of Claim Form For Torture Victims by Manuel P. Tingson
3857 PROOF of Claim Form For Torture Victims by Leonardo Castolo, Deceased by Zosima
Barcelo Castolo
3858 PROOF of Claim Form For Disappearance Victims by Guiama Ali by Sittie M. Ali
/ 3859 | PROOF of Claim Form For Disappearance Victims by Sagani D. Dimananal
3860 | PROOF of Claim Form For Disappearance Victims by Nelson S. Salvacion by Zevencia
S. Banawa
3861 | PROOF of Claim Form For Disappearance Victims by Tomas B. Arnoco by Eladio M.
Neri
| 3862 | PROOF of Claim Form For Disappearance Victims by Adriano Tarocan
3863 | PROOF of Claim Form For Disappearance Victims by Omar K. Guamander by Ibraham
Kabunto
3864 | PROOF of Claim Form For Disappearance Victims by Alfredo M. Grayda by Ubaldo M.
Grayda
3865 | PROOF of Claim Form For Disappearance Victims by Ben Silongan by Marakay P.
Silongan
3866 | PROOF of Claim Form For Disappearance Victims by Francisco §. Portem by Lourdes
S. Portem 4
| 3867 | PROOF of Claim Form For Disappearance Victims by Carlito T. Rodriguez
3868 | PROOF of Claim Form For Disappearance Victims by Felix C. Abaya
3869 PROOF of Claim Form For Disappearance Victims by Crispulo G. Gutlay, Jr. by
Crispulo Gutlay, Sr.
3870 | PROOF of Claim Form For Disappearance Victima by Sammy Bucog by Felix D. Edulan
3871 ; PROOF of Claim Form For Disappearance Victims by Enrique Nuevacobita Docto by
Lourdes Villaruel Docto
3872 | PROOF of Claim Form For Disappearance Victims by Baincloa Sakukong
3873 | PROOF of Claim Form For Disappearance Victims by Baidodo Rajamuda Benito by
Datugapor A. Rajamuda ,
3874 | PROOF of Claim Form For Disappearance Victims by Datuumbra A. Rajamuda by
Datugapor A. Rajamada
3875 | PROOF of Claim Form For Disappearance Victims by Reynaldo Cabigayan
3876 | PROOF of Claim Form For Disappearance Victims by Dodo M. Branggen by Jimmy Macasan
3877 | PROOF of Claim Form For Summary Execution Victims by Tarciaano L. Morales by
Kena M. Camanzi
3878 | PROOF of Claim Form For Summary Execution Victims by Melicio C. Sabado by
Francisca L. Sabado .
3879 | PROOF of Claim Form For Summary Execution Victims by Hadji Mohammad Taha Kuday
by Ustadz Rowaida Mohamad Taha
3880 | PROOF of Claim Form For Summary Execution Victims by Julio Cabrera by Lolita
Cabrera
3881 | PROOF of Claim Form For Summary Execution Victims by Tomas Kulong by Abdulhamid
Tomas
3882 | PROOF of Claim Form For Summary Execution Victims by Jorge Checa by Wevina Checa

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF [DEFENDANT
DOCKET NO. MDL 840 _
[N RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
PAGE 1500Fr PAGES
DATE NR. PROCEEDINGS
1999
Apr 16 3883 [PROOF of Claim Form For Summary Execution Victims by Salasar Tomas by Abdulhamid
Tomas
3884 | PROOF of Claim Form For Summary Execution Victims by Sammy Tomas by Abdulhamid
Tomas
3885 |PROOF of Claim Form For Summary Execution Victims by Kadatuan Tomas by Abdulhamid
Tomas

3886 |PROOF of Claim Form For Summary Execution Victims by Vellshermon R. Cabatona by
Gloria A. Cabatona

3887 | PROOF of Claim Form For Summary Execution Victims by Rolando A. Asis by Maria
Vda De Asis

3888 PROOF of Claim Form For Summary Execution Victims by Pedro M. Gatasi by Epifania
Oo. Gatasi

3889 | PROOF of Claim Form For Summary Execution Victims by Salem B. Abad by Mila B. Abad
3890 ;PROOF of Claim Form For Summary Execution Victims by Omsano 8. Acaso, Jr. by
Florencia F. Acaso

3891 |PROOF of Claim Form For Summary Execution Victims by Abas Abdullah, Karim Abdulla},
Sarif Abdulla by Dalisay Ulangkaya
3892 |PROOF of Claim Form For Summary Execution Victims by Abas Abdullah, Karim Abdullak,
Sarif Abdulla by Dalisay Ulangkaya

3893 |PROOF of Claim Form For Summary Execution Victims by Renato Lago Bucag, Melchora
Villegas Bucag, Renato V. Bucag, III by Jorgia Bucag Inido

3894 | PROOF of Claim Form For Summary Execution Victims by Lorenzo Anacio by Flora F.
Anacio

3895 | PROOF of Claim Form For Summary Execution Victims by Eladio Anacio by Flora F.
Anacio

3896 |PROOF of Claim Form For Summary Execution Victims by Ceriaco E. Dangco by Rufo
E. Dangeo

3897 | PROOF of Claim Form For Summary Execution Victims by Mario L. Ordeniza by Hermogenes
R. Ordeniza
3898 | PROOF of Claim Form For Summary Execution Victims by Policarpic A. Resales by Joe]
M. Rosales ‘ s
3899 | PROOF of Claim Form For Summary Execution Victims by Emmanuel Antonio 0. Bautista
by Nenita O. Bautista
3900 | PROOF of Claim Form For Summary Execution Victims by Domingo Murilla by Doanto
Murilla
3901 | PROOF of Claim Form For Summary Execution Victims by Assan Salasa by Amman Salasa
3902 | PROOF of Claim Form For Summary Execution Victims by Arthuro ¢. Maceda by Rosalia
A. Maceda - , -
3903 | PROOF of Claim Form For Summary Execution Victims by Juvelyn P. Jarabelo by Lilia
P. Jarabelo ST ~
3904 | PROOF of Claim Form For Summary Execution Victims by Angelito Samonte
3905 | PROOF of Claim Form For Summary Execution Victims by Jullio A. Barroga by
Bonifacio B. Asuncio
3906 | PROOF of Claim Form For Summary Execution Victims by Tambulasa Almad by Esmael
Almad
3907 | PROOF of Claim Form For Summary Execution Victims by Kamsa Taguegaya by Datumama
M. Taguegaya
3908 | PROOF of Claim Form For Summary Execution Victims by Sameul (Samil) Taguegaya
by Datumama M. Taguegaya
3909 | PROOF of Claim Form For Summary Execution Victims by Sagiara Ayob by Datumama M.
Taguegaya

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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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DATE NR. PROCEEDINGS
1999
Apr 16 ; 3910, PROOF of Claim Form For Summary Execution Victims by Antonio Abalos by Dionesia
Abalos
3911 PROOF of Claim Form For Summary Execution Victims by Terso Abalos by Dionesia
Abalos
3912) PROOF of Claim Form For Summary Execution Victims by Jose Sablay by Hanibel
Sablay
| 3913! PROOF of Claim Form For Summary Execution Victims by Jolita Dela Cruz by
: Adoracion D. Antonio
3914 PROOF of Claim Form For Summary Execution Victims by Jaime A. Vitor by Arcadio
B. Vitor, Sr.
3915 PROOF of Claim Form For Summary Execution Victims by Rogelio Dumrique Samoy by
: : Dionica V. Samdy ,
3916. PROOF of Claim Form For Summary Execution Victims by Datuali Pasol by Kalima
: Pasol
3917 PROOF of Claim Form For Summary Execution Victims by Claudio J. Saluda, Sr. by
Presentacion M. Saludares
3918 PROOF of Claim Form For Summary Execution Victims by Arthuro M. Matias by
Soledad T. Matias. .
3919 ) PROOF of Claim Form For Summary Execution Victims by Felipe Mora Bontilo by
Regelio Mora Bontilo
3920 PROOF of Claim Form For Summary Execution Victims by Antonio Coropio Gura by
Nimfa B. Gura
3921 | PROOF of Claim Form For Summary Execution Victims by Abas Abdullah, Karim Abdulla
Sarif Abdullah by Dalisay Ulangkaya
3922 | PROOF cf Claim Form For Summary Execution Victims by Benigno Smar by Herminia
Samar Cabigayan
3923 | DECLARATION of Rodrigo C. Domingo, Jr.; Exhibits A-c; Certificate of Service -
on behalf of Class Plaintiffs - [Cv 86-330, 86-390]

*15 3924 | DECLARATION of Jon M. Van Dyke In Support of Class Plaintiffs' Joint Motion For
Attorneys' Fees And Reimbursement of Expenses Filed 3/17/99; Exhibits A-c -
on behalf of Class Plaintiffs - [Cv 86-330, 86-390] - SEALED BY ORDER oF
COURT - (Volume I)

3925 | EXHIBITS D-H (Volume II) to Declaration of Jon M. Dyke In Support of Class
Plaintiffs' Joint Motion For Attorneys' Fees And Reimbursement of Expenses
Filed 3/17/99 = on behalf of Class Plaintiffs - [Cv 86-330, 86-390]
- SEALED BY ORDER OF COURT

19 3926 | PROOF of Claim Form For Torture Victims by Roberto Y. Antonio

3927 | PROOF of Claim Form For Torture Victims by Pepito D. Frias

3928 | PROOF of Claim Form For Torture Victims by Benjamin Donayre Estrera

3929 | PROOF of Claim Form For Torture Victims by Alfreda Glodone Pagotaisidro

3930 | PROOF of Claim Form For Torture Victims by Victorie C. Dongallo

3931 | PROOF of Claim Form For Torture Victims by Crispin A. Soriano, Jr.

3932 PROOF of Claim Form For Torture Victims by Fransecisco C. Vergara

3933 | PROOF of Claim Form For Torture Victims by Dominador P. Bacani

3934 | PROOF of Claim Form For Torture Victims by Samuel N. Mallari

3935 | PROOF of Claim Form For Torture Victims by Rogelio M. Villanueva

3936 | PROOF of Claim Form For Torture Victims by Rizal Cawayan

3937 | PROOF of Claim Form For Torture Victims by Alfreda G. Pagottaisidro

3938 | PROOF of Claim Form For Torture Victims by Felipe Saad

3939 | PROOF of Claim Form For Torture Victims by Sixto Macanas, Sr., Deceased by Virginti

Macanas

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

IN RE: ESTATE

OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

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DATE NR. FROCEEDINGS
1999
Apr 19 (3940 PROOF of Claim Form For Torture Victims by Rodante H. Dubio
3941 |PROOF of Claim Form For Torture Victims by Saturtine Hgramon
3942 | PROOF of Claim Form For Torture Victims by Danilo T. Getutua
3943 |PROOF of Claim Form For Torture Victims by Salito Juan Ancheta
3944 | PROOF of Claim Form For Torture Victims by Derwin Lopez Calderon
3945 | PROOF of Claim Form For Torture Victims by Rebecca Florida Cironay Calderon
3946 PROOF of Claim Form For Torture Victims by Ernesto G. Pelotea.
3947 PROOF of Claim Form For Torture Victims by Eliseo Carreon
3948 |PROOF of Claim Form For Torture Victims by Samuel B. Galay
3949 PROOF of Claim Form For Torture Victims by Simon Adoptante, Deceased by Felisa
Adoptante
3950 |PROOF of Claim Form For Torture Victims by Aquilina M. Me jos
3951 | PROGF of Claim Form For Torture Victims by Francisco Fuentebelle
3952 {PROOF of Claim Form For Torture Victims by Crisanto BD. Caluluya, Sr.
3953 PROOF of Claim Form For Torture Victims by Jesus L. Villasenor, Deceased by
Monica A. Villasnor
3954 |PROOF of Claim Form For Torture Victims by Oly C. Agudera, Sr.
3955 [PROOF of Claim Form For Torture Victims by Nemencio P. Tiongson
3956 |PROOF of Claim Form For Torture Victims by Antonio Ortiz
3957 | PROOF of Claim Form For Torture Victims by Orlando Q. Agudera
3958 | PROOF of Claim Form For Torture Victims by Edgar P. Trani
3959 | PROOF of Claim Form For Torture Victims by Agustin dela Torre
3960 (PROOF of Claim Form For Torture Victims by Patrosinio Remaldura
3961 |)PROOF of Claim Form For Torture Victims by Jose Isuga
3962 i PROOF of Claim Form For Torture Victims by Crispino E. S5ayno
3963 |PROOF of Claim Form For Torture Victims by Arnedo Enriquer
3964 |PROOF of Claim Form For Torture Victims by Ulpiano B. Catap
3965 |PROOF of Claim Form For Torture Victims by Rosario G. Catap
3966 |PROOF of Claim Form For Torture Victims by James A. Umadhay
3967 |PROOF of Claim Form Fer Torture Victims by Edgardo. D. Javelilana
3968 |PROOF of Claim Form For Torture Victims by Leonardo L. Paguinto
3969 |PROOF of Claim Form For Torture Victims by Arsenio C.. Coligado:
3970 | PROOF of Claim Form For Torture Victims by Conrado M. Gloria, 5r.
3971 | PROOF of Claim Form For Torture Victims by Jose. M. Torres
3972 |PROOF of Claim Form For Torture Victims by Adulfo R. Tayas
3973 | PROOF of Claim Form For Torture Victims by Renato Hudencial, Deceased by Estelita
H. Topacio ce Do, ‘
3974 | PROOF of Claim Form For Torture Victims by Ricardo C. Ynzon
3975 | PROOF of Claim Form For Torture Victims by Susan L, Ami
3976 | PROOF of Claim Form For Torture Victims by Federico 3. Gregana
3977 | PROOF of Claim Form For Torture Victims by Florencio 5. Gregana
3978 | PROOF of Claim Form For Torture Victims by Antonio D.. Baran
3979 | PROOF of Claim Form For Torture Victims by Antonio Culot, Jr.
3980 |PROOF of Claim Form For Torture Victims by Rolando S. Anyong.
3981 | PROOF of Claim Form For Torture Victims by Nenita Labial
3982 |PROOF of Claim Form For Torture Victims by Salvador Y. Lledo
3983 | PROOF of Claim Form For Torture Victims by Lolita A. Lledo
3984 | PROOF of Claim Form For Torture Victims by Romeo H. Chavez, Deceased by Carmelita
Chavez
3985 | PROOF of Claim Form For Torture Victims by Zosimo Uyanon Maylan
3986 | PROOF of Claim Form For Torture Victims by Leopoldo Taguran
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEFENDANT

| DOCKET NO. MDL 840

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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION :
PAGE L530r_ PAGES
DATE » NRL: PROCEEDINGS
1999
Apr 19 3987 | PROOF of Claim Form For Torture Victims by Alfonso 8. Hilongo
3988 | PROOF of Claim Form For Torture Victims by Cipriano Bacurnay
3989 PROOF of Claim Form For Torture Victims by Anastacio R. Ochavo
3990 | PROOF of Claim Form For Torture Victims by Herminigildo Busea, Jr.
' 3991 PROOF of Claim Form For Torture Victims by Leoncia M. Tuam
| 3992 | PROOF of Claim Form For Torture Victims by Delfia G. Agbu
3993 | PROOF of Claim Form For Torture Victims by Rebecca B. Sumalinog~Poja
| 3994 PROOF of Claim Form For Torture Victims by Maria Recto
3995 : PROOF of Claim Form For Torture Victims by Crispina L. Ranoa
3996 PROOF of Claim Form For Torture Victims by Ferdinand I. Curato
3997 PROOF of Claim Form For Torture Victims by Pedro Binoya, Jr.
: 3998 PROOF of Claim Form For Torture Victims by Alfredo Hadap
: 3999 ) PROOF of. Claim Form For Torture Victims by Eduardo F. Figueras, Deceased by Lydia
| C. Figueras
/ 4000 | PROOF of Claim Form For Torture Victims by Jemito J. Labial
400L PROOF of Claim Form For Torture Victims by Losantos Penaril, Deceased by Cresenci
Pinarijo
4002 PROOF of Claim Form For Torture Victims by Arcadio A. Yambo, Deceased by Monuling
Yambo
4003 , PROOF of Claim Form For Torture Victims by Agustin B. Quismundo, Deceased by
Porferia Quismundo
4004 | PROOF of Claim Form For Torture Victims by Ulpiano Aguilar
4005 PROOF. of Claim Form For Torture Victims by Ulpiano Aguilar
4006 : PROOF of Claim Form For Torture Victims by Marcelino Bugarin, Deceased by Consuel
Bugarin
4007 | PROOF of Claim Form For Torture Victims by Francisco $. Aguilar
4008 | PROOF of Claim Form For Torture Victims by Romlo Cativo
4009 | PROOF of Claim Form For Torture Victims by Norma Varquez Ruferos
©4010 | PROOF of Claim Form For Torture Victims by Cresencia Vasquez
- 4011) PROOF of Claim Form For Torture Victims by Creselda G. Galagala
4012 PROOF of Claim Form For Torture Victims by Melchor Buiza
4013 | PROOF of Claim Form For Torture Victims by Pacifico E. Halcon
4014 > PROOF of Claim Form For Torture Victims by Regalo V. Mirai
4015 PROOF of Claim Form For Torture Victims by Warlito Suclan
“4016 | PROOF of Claim Form For Torture Victims by Claudia Baran
4017 | PROOF of Claim Form For Torture Victims by Benigna A. Clas
4018 | PROOF of Glaim Form For Disappearance Victims by Idralim Ummat Sarabi by Marietta
A. Sarabi
4019 PROOF cof Claim Form For Disappearance Victims by Gaudencio B. Indine, III by
Candelaria Duran Vda de Indino
4020 | PROOF of Claim Form For Disappearance Victims by Oligaric G. Lago by Maria
Namansulay Lago
4021 | PROGF of Claim Form For Disappearance Victims by Yolando Reymundo by Teodosia
Reymundo
4022 | PROOF of Claim Form For Disappearance Victims by Henry B. Quino by Melodina
¥. Quino
4023 | PROOF of Claim Form For Disappearance Victims by Diosdado M. Ybanez by Josephine
Q. Ybanez
4024 | PROOF of Claim Form For Disappearance Victims by Romulo V. Vicente by Herminia V.
Vicente
4025 | PROOF of Claim Form For Disappearance Victims by Bienvenido Petugo by Elsa C.
Petugo
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

pocket no. MDL 840 _

PAGE LS40F_ PAGES
DATE NR. PROCEEDINGS
i999
Apr 19 (4026 PROOF of Claim Form For Disappearance Victims by Romulo V. Vicente, Deceased by
Herminia V. Vicente
4027 PROOF of Claim Form For Disappearance Victims by Julius U. Pielago, Deceased by
Rosalina U. Pielago
4028 PROOF of Claim Form For Disappearance Victims by Cligario G. Lago by Maria N. Lage
4029 |PROOF of Claim Form For Disappearance Victims by Vicente U. Pielago by Rosalina U
Pielago
4030 | PROOF of Claim Form For Disappearance Victims by Rodrigo D. Amasan by Nilson
D. Amasan
4031 PROOF of Claim Form For Disappearance Victims by Wilfredo Luansing by Esperanza
O. Luansing
4032 | PROOF of Claim Form For Disappearance .Victima by Wilfredo Luansing by Esperanza
QO. Luansing
4033 |PROOF of Claim Form For Disappearance Victims by Wilfredo Luansing by Esperanza
QO. Luansing
4034 PROOF of Claim Form For Summary Execution. Victims by Cesar L. Abad by Rebecca L.
Abad
4035 | PROOF of Claim Form For Summary Execution Victims by Eusebio B. Embol by Bestor
B. Embol .
4036 |PROOF of Claim Form For Summary Execution Victims by Vinceslao Torayno by
Franscisco Torayno
4037 | PROOF of Claim Form For Summary Execution Victims by Marife Regalado by Julieta
Regalado
4038 PROOF of Claim Form For Summary Execution Victims by Belen C. Mecinas by Cecilia
E. Manate
4039 |PROOF of Claim Form For Summary Execution Victims by Dante Medollar by Exequiel
M. Medollar
4040 |PROOP of Claim Form For Summary Execution Victims by Lazaro M, Occena by Fe M.
Occenar
4041 | PROOF of Claim Form For Summary Execution Victims by Felomino Amistad, Sr. by
Feloming V. Amistad, Jr.
4042 | PROOF of Claim Form For Summary Execution Victims by Arnoifo Lumacad by Lumacad
isabel
4043 |PROOF of Claim Form For Summary Execution Victims by Wilfredo A. Base by Catalina
Base
4044 |PROOF of Claim Form For Summary Execution Victims by Leonardo Campra, Jr. by
Lesaria R. Ugbinar
4045 | PROOF of Claim Form For Summary Execution Victims by Isagani Aganap Cabatingan by
Constancia B. Palacios
4046 | PROOF of Claim Form For Summary Execution Victims by Roxando Obregon by Emma
Obregon
4047 | PROOF of Claim Form For Summary Execution Victims by Juanito Caminade by Elizabeth
C. Adlawan
4048 | PROOF of Claim Form For Summary Execution Victims by Lebrado Paleu, Jr. by Palen
Bulfa Lelita
4049 | PROOF of Claim Form For 5ummary Execution Victims by Jesus Jacinto by Consolacion
Jacinte
4050 | PROOF of Claim Form For Summary Execution Victims by Berino Noot by Flabiano Noot
4051 | PROOF of Claim Form For Summary Execution Victims by Renato Asilo by Leonor
Ailo~Barber
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF COEF ENDANT
: | DOCKET NO. MPL 840 _
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
PAGELS5 OF_ PAGES
DATE NRL PROCEEDINGS
1999
Apr 19 4052 PROOF of Claim Form For Summary Execution Victims by Arturo A. Gregana by
Florencio S$. Gregana
| 4053; PROOF of Claim Form For Summary Execution Victims by Eustaquio M. Dumaol
4054 PROOF of Claim Form For Summary Execution Victims by Dimas Diaz Jiminez by Cirela
i Pandioday
4055 | PROOF of Claim Form For Summary Execution Victims by Pacifico Barnido by Susita
B. Barnido
4056 PROOF of Claim Form For Summary Execution Victims by Rolando Pbregon by Emma
: : Obregon
4057 | PROOF of Claim Form For Summary Execution Victims by Alberto L. Ranoa by Lusita
L Ranoa
| 4058 . PROOF of Claim Form For Summary Execution Victims by Damilo F. Gorres by Consolacton
F. Gorres
4059 PROOF of Claim Form For Summary Execution Victims by Proceso T. Baring by Caridad
T. Baring :
4060 PROOF of Claim Form For Summary Execution Victims by Alberto Itaas by Mamerto
Itaas
4061 PROOF of Claim Form For Summary Execution Victims by Tiburcio Abregana
4062, PROOF of Claim Form For Summary Execution Victims by Gonzalo Besina by Gil Besina
4063 | PROOF of Claim Form For Summary Execution Victims by Claudio Gido by Salomu G. Gille
4064 | Statement by Adelina F. Villamor
4065 | PROOF of Claim Form For Torture Victims by Alfredo S. Gumisad
4066 | PROOF of Claim Form For Torture Victims by Santiago C. Capili, Deceased by Tarcila
Villapando Capili
4067 | PROOF of Claim Form For Torture Victims by Jesus Murillo, Deceased by Antonio
Muriile
4068 | PROOF of Claim Form For Torture Victims by Marcelino Calamian
4069 | PROOF of Claim Form For Torture Victims by Vilioso Bation
4070 | PROOF of Claim Form For Torture Victims by Daniel L. Bulawan
4071 | PROOF of Claim Form For Torture Victims by Myrna T. Munoz
4072 | PROOF of Claim Form For Torture Victims by Enovejes L. Catayas
4073 | PROOF of Claim Form For Torture Victims by Alexander B. Dayaan, Sr.
4074 | PROOF of Claim Form For Torture Victims by Alexander B. Dayaan, Sr.
4075 PROOF of Claim Form For Torture Victims by Gloria A. Brillo
4076 | PROOF of Claim Form For Torture Victims by Ely Dante B. Solano
4077 | PROOF of Claim Form For Torture Victims by Carlos G. Manulid
4078 | PROOF of Claim Form For Torture Victims by Ulysses G. Bernal
4079 | PROOF of Claim Form For Torture Victims by Willy Parinan
4080 | PROOF of Claim Form For Torture Victims by Nestor A. Melo
4081 PROOF of Claim Form For Torture Victims by Jesusa Procurato
4082 | PROOF of Claim Form For Torture Victims by Roberto A. Amores
4083 | PROOF of Claim Form For Torture Victims by Rodolfo Fernandez
4084 + PROOF of Claim Form For Torture Victims by Jesus Geraldo
4085 | PROOF of Claim Form For Torture Victims by Aida Alison Magdali
4086 | PROOF of Claim Form For Torture Victims by Simplicio Rivera Carreon, Jr.
4087 | PROOF of Claim Form For Torture Victims by Pablo Cairo
4088 | PROOF of Claim Form For Torture Victims by Benjamin Arches Posa
4089 | PROOF of Claim Form For Torture Victims by Federico D. Borja
4090 | PROOF of Claim Form For Torture Victims by Pelagio Cua, Sr.
4091 | PROOF of Claim Form For Torture Victims by Shirley Alcantara Madelo
4092 PROOF of Claim Form For Torture Victims by Ruben C. Aceder
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

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DATE NR. PROCEEDINGS
1999
Apr 19 4093 | PROOF of Claim Form For Torture Victims by Meguila C. Acedera
4094] PROOF of Claim Form For Torture Victims by Rodelio Llesis Madelo
40951 PROOF of Claim Form For Torture Victims by Juanito Villarin, Deceased by Antonio
Villarin
4096 PROOF of Claim Form For Torture Victims by Felipe Hucamis, Deceased by Tiberio
Hucamis
4097 | PROOF of Claim Form For Torture Victims by Adolfo C. Lauzon
4098] PROOF of Claim Form For Torture Victims by Romeo E. Luneta
4099| PROOF of Glaim Form For Torture Victims by Arsenia Canal
4100] PROOF of Claim Form For Torture Victims by German BD. Genodiala
4101) PROOF of Claim Form For Torture Victims by Rodolfe Lancheta
4102) PROOF of Claim Form For Torture Victims by isabelo L. Abrica
4103) PROOF of Claim Form For Torture Victims by Elena F. Lebanan
4104] PROOF of Claim Form For Torture Victims by Jose Onong, Deceased by Benigna Onong
4105) PROOF of Claim Form For Torture Victims by Hermenegildo Y. Arteche
4106| PROOF of Claim Form For Torture Victims by Jaime 3. Duenas
4107] PROOF of Claim Form For Torture Victims by Angelica Sailog Remetio
4108| PROOF of Claim Form For Torture Victims by Benjamin M. Maestre
41091 PROOF of Claim Form For Terture Victims by Estrella A. Consalacion
4110: PROOF of Claim Form For Torture Victims by Juanito Raming
4111] PROOF of Claim Form For Torture Victims by Benigno E. Villanueva, Deceased by
Nelly G. Villanueva
4112] PROOF of Claim Form For Torture Victims by Ana Corita Y. Quilantang
4113! PROOF of Claim Form For Torture Victims by Teotimo V. Homillada
4114| PROOF of Claim Form For Torture Victims by Sergio N. Juanillas
41151 PROOF of Claim Form For Torture Victims by Basilio Alcueno, Deceased by Hermoseo
Alcueno
4116| PROOF of Claim Form For Torture Victims by Hermogenes Yanga Teves
4117} PROOF of Claim Form For Torture Victims by Ely Dante B. Solano
4118] PROOF of Claim Form For Torture Victims by Miraflor Eulogis
4119| PROOF of Claim Form For Torture Victims by Mario A. Tagaylo
4120] PROOF of Glaim Form For Torture Victims by Nestorio &. Natan
4121| PROOF of Claim Form For Torture Victims by Marcial U. Sasot
4122} PROOF of Claim Form For Torture Victims by Fernando U. Sasot
4123} PROOF of Claim Form For Torture Victims by Roberto D.. Sinding
4124| PROOF of Claim Form For Torture Victims by Judith Pagunsan
4125} PROOF of Claim Form For Torture Victims by Danilo D. Casulla
4126{ PROOF of Claim Form For Torture Victims by Leonor Umengan Bravo
4127| PROOF of Claim Form For Torture Victims by Osias T. Canisa
4128] PROOF of Claim Form For Torture Victims by Ernesto A. Atumpag
4129| PROOF of Claim Form For Torture Victims by Justo D. Taracina
4130} PROOF of Claim Form For Torture Victims by Eustaquio N. Enero
4131] PROOF of Claim Form For Torture Victims by Trinidad Bartolo, deceased by Josephiye
Bartalo : . coe, :
4132] PROOF of Claim Form For Torture Victims by Alica C. Enero
4133] PROOF of Claim Form For Torture Victims by Victor T. Loritoc
4134] PROOF of Claim Form For Torture Victims by Harry B. Balazuela
4135] PROOF of Claim Form For Torture Victims by Eleuterio N. Abo, Sr.
4136} PROOF of Claim Form For Torture Victims by Nemesio M. Miranda
4137| PROOF of Claim Form For Torture Victims by Rodel E. Brinoes

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEEENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

| DOCKET NO. MDL 840.

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PROCEEINGS

DATE NR.
» 1999
Ape 19 4138 | PROOF of Claim Form For Torture Victims by Gonzalo L. Aleantara
4139 | PROOF of Claim Form For Torture Victims by Regelio Callao
©4140 PROOF of Claim Form For Torture Victims by Antonio S. Tangonan
4141 PROOF of Claim Form For Torture Victims by Sotero Salazar
| 4142 | PROOF of Claim Form For Torture Victims by Carmelito D. Tumbaga
/4143 | PROOF of Claim Form For Torture Victims by Gabriel de los Angelos
4144 PROOF of Claim Form For Torture Victims by Wilfredo BD. Guinabo
4145 PROOF of Claim Form For Torture Victims by Hernan G. Urpiana, Sr.
/4146 PROOF of Claim Form For Torture Victims by Celedino B. Bantigue
/4147 PROOF of Claim Form For Torture Victims by Asuncion Pasanjul
/ 4148 PROOF of Claim Form For Torture Victims by Elpedio P. Labao
'4149 PROOF of Claim Form For Torture Victims by Catalina C. Manundan
/4150 | PROOF of Claim Form For Torture Victims by Eufronio L. Maybuena, Sr.
(4151 | PROOF of Claim Form For Torture Victims by Ruben S. Estoque, Deceased by Aldorico
: Estoque
- 4152 > PROOF of Claim Form For Torture Victims by Nestor Garao
4153 | PROOF of Claim Form For Torture Victims by Tionog ¢. Hapon, Deceased by Celso R.
Hapon
4154 | PROOF of Claim Form For Torture Victims by Sofinias V. Luardo, Sr.
4155 | PROOF of Claim Form For Torture Victims by Adam V. Luardo
4156 | PROOF of Claim Form For Torture Victims by Melchor A. Capada
4157 | PROOF of Claim Form For Torture Victims by Alex Rivera Santos, Deceased by Teresi
F. Tamayo
4158 | PROOF of Claim Form For Torture Victims by Isabelo G. Galicia
4159 | PROOF of Claim Form For Torture Victims by Alfredo Bartolo
4160 | PROOF of Claim Form For Torture Victims by Amado D. Dolasan, Sr., Deceased by
Soledad C. Delosa
4161 | PROOF of Claim Form For Torture Victims by Leonor Cabunco Morales, Deceased by
Rolando Alvares Morales
4162 , PROOF of Claim Form For Torture Victims by Guillerma G. Acedera
4163 | PROOF of Claim Form For Torture Victims by Nelson C. Acedera, Deceased by Meguila
C. Acedera
4164 . PROOF of Claim Form For Torture Victims by Relando Alvares Morales
4165 | PROOF of Claim Form For Torture Victims by Epifanio B. Pua, Jr.
/4166 | PROOF of Claim Form For Torture Victims by ARthuro Baguio
(4167 | PROOF of Claim Form For Torture Victims by Amable N. Estranero
4168 | PROOF of Claim Form For Torture Victims by Miguel 0. Ros
4169 | PROOF of Claim Form For Torture Victims by Fulgencio 0. Obliopas, Deceased by
Alfreda 0. Obliopas
4170 | PROOF of Claim Form For Torture Victims by Anita Bunales Pagli-Awan, Deceased by
Epifania A. Bunales
4171 | PROOF of Claim Form For Torture Victims by Jaime C. Malasa
'4172 | PROOF of Claim Form For Torture Victims by Danilo Esperanzate
4173 | PROOF of Claim Form For Torture Victims by Antonio G. Hubilla
4174 | PROOF of Claim Form For Torture Victims by Melecio C. Sauza, Jr.
4175 | PROOF of Claim Form For Torture Victims by Resela Escurido, Deceased by Euterio
Escurido
4176 | PROOF of Claim Form For Torture Victims by Calixto Esperanzate, Deceased by Anton
Esperanzate
4177 | PROOF of Claim Form For Torture Victims by Alejandro Escultura, Deceased by Estelb
Escultura
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PLAINTIFF DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

pocket No. MDL 840 _

: PAGE L5r_s paces
DATE NR. PROCEEDINGS
1999
Apr 19 4178) PROOF of Claim Form For Torture Victims by Jimmy Castallano

4179; PROOF of Claim Form For Torture Victims by Melanio P. Punsalan

4180 | PROOF of Claim Form For Torture Victims by Diogenes E. Esperanzate

41811 PROOF of Claim Form For Torture Victims by Lodrigo C. Apales, Deceased by Leonora
Apales Baltazar

4182) PROOF of Claim Form For Torture Victims by Melecio Basalo

4183| PROOF of Claim Form For Torture Victims by Cynthia 8. Galvez, Deceased by Juanita
P/ Galvez

4184) PROOF of Claim Form For Terture Victims by Gilbert V. Gamboa

4185; PROOF of Claim Form For Torture Victitts by Jose B. Basinang

41861 PROOF of Claim Form For Torture Victims by Herminic Ramento 0.

4187 | PROOF of Claim Form For Torture Victims by Luisito FP. Ramirez

4188) PROOF of Claim Form For Torture Victims by Mariano Ananias, Deceased by Cristina
Mariano — , : :

41891 PROOF of Claim Form For Torture Victims by Edgar Marayan

4190| PROOF of Claim Form For Torture Victims by Leonardo T. Ramento

4191] PROOF of Claim Form For Torture Victims by Teofila R. Tilar

4192) PROOF of Claim Form For Torture Victims by Victorino S$: Zamora

4193; PROOF of Claim Form For Torture Victima by MArio L. Jadaraque

4194) PROOF of Claim Form For Torture Victims by Arcadio Cadalin

4195| PROOF of Claim Form For Torture Victims by Florentino C. Baguio

4196; PROOF of Claim Form For Torture Victims by Ricardo Rosales

4197; PROOF of Claim Form For Torture Victims by Ederlinda A. Villanueva

4198| PROOF of Claim Form For Torture Victims by Jose A. Basinang

4199! PROOF of Claim Form For Torture Victims by Celedonio G. Santos

4200; PROOF of Claim Form For Torture Victims by Marcelo Espiritu Villamin

4201) PROOF of Claim Form For Torture Victims by Estrelita Jacinto, Deceased by Pepito
P. Lopez

4202! PROOF of Claim Form For Torture Victims by Rowell Morcillo

4203; PROOF of Claim Form For Torture Victims by Peter Ferrer Villasenor

4204) PROOF of Claim Form For Torture Victims by Petronilo N. Cabrido

4205| PROOF of Claim Form For Torture Victims by Saturnino Orfanel Ramento

4206: PROOF of Claim Form For Torture Victims by Catalino M. Ramento

4207 | PROOF of Claim Form For Torture Victims by Jose O. Ramento

4208| PROOF of Claim Form For Torture Victims by Alexander B. Boliver

4209! PROOF of Claim Form For Torture Victims by ALexander B. Boliver

4210; PROOF of Claim Form For Torture Victims by Luis A. Ortega

4211| PROOF of Claim Form For Torture Victims by Ramon F. Brillante

4212] PROOF of Claim Form For Torture Victims by Renato H. Limcangeo

4213) PROOF of Claim Form For Torture Victims by Don G. Esgra

4214) PROOF ef Claim Form For Torture Victims by ALma Zulueta Advincula

4215| PROOF of Claim Form For Torture Victims by Rodolfo R. Advincula

4216, PROOF of Ciaim Form For Torture Victims by Basilia N. Busa

4217, PROOF of Claim Form For Torture Victims by Prodencio V. Parallag

4218| PROOF of Claim Form For Torture Victims by Melecio Cua, Jr.

4219) PROOF of Claim Form For Disappearance Victims by Vicente L. Fajardo by Alfonso
Fajardo .

4220| PROOF of Claim Form For Disappearance Victims by Pablo Cabel

4222| PROOF of Claim Form For Disappearance Victims by Pastor D. Calinog by Francis
Calinog

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| DOCKET NO. MDL..840.
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | pace 15956 PAGES
DATE NR. PROCEEDINGS
1999
|Apr 19 | 4223. PROOF of Claim Form For Disappearance Victims by Pastor BD. Calinog by Francia
Calinog
' 4224 PROOF of Claim Ferm For Disappearance Victims by Eugronio N. Quine by Angela B.
: Quino
©4225 | PROOF of Claim Form For Disappearance Victims by Crispin Ostera Biacolo
4226 PROOF of Claim Form For Disappearance Victims by Milo Palag Paculanang by Joaquin
C. Paculanang
|4227 PROOF of Claim Form For Disappearance Victims by Pedro V. Villrobia by Adoracion
: V. Claro
/4228 PROOF of Claim Form For Disappearance Victims by Alexander Dimaulig
' 4229 | PROOF of Claim Form For Disappearance Victims by Gregoria Dimaulig
4230 ' PROOF of Claim Form For Disappearance Victims by Bodo A. Andayo by Ganong A.
Andayo
4231 PROOF of Claim Form For Disappearance Victims by Jose Mabilangan by Trinidad E.
: Mabilangan
4232 , PROOF of Claim Form For Disappearance Victims by Lucia A. Andayao by Ganong A.
: Andayao
/4233 PROOF of Claim Form For Disappearance Victims by Elutiro Mabilangan by Wamito
Mabilangan
4234 PROOF of Claim Form For Disappearance Victims by Ernesto 8. Duenas
4235 | PROOF of Claim Form For Disappearance Victims by Alberto B. Revila by Maria A.
Revila
4236 | PROOF of Claim Form For Disappearance Victims by Bienvenido F. Patiag
4237 | PROOF of..Claim Form For Summary Execution Victims by Vecente Tupas Estranero by
Amable N. Estranero
4238 PROOF of Claim Form For Summary Execution Victims by Gil Minoza Jordan by Joseph
M. Jordan
4239 | PROOF of Claim Form For Summary Execution Victims by Benito S. Basalo by Leonila
S. Basalo
4240 | PROOF of Claim Form For Summary Execution Victims by Demetrio Z. Albaira by Julia
F, Albaira
4241) | PROOF of Claim-Form For Summary Execution Victims by Jesus R. Rellama by Eufemia
R. Rivera
4242 PROOF of Claim Form For Summary Execution Victims by Reymundo P. Gomolon by Juan
Gomolon
4243 | PROOF of Claim Form For Summary Execution Victims by Cristito R. Maningo by
Dioscora M. Maningo
4244 | PROOF of Claim Form For Summary Execution Victims by Juan 8. Saranza by Abundo R.
Saranza
4245 | PROOF of Claim Form For Summary Execution Victims by Fortunato 0. Carreon by
Maura Omakin Carreon
4246 PROOF of Claim Form For Summary Execution Victims by Oscar L. Conge by Francisco
L. Conge, Jr.
»4247 | PROOF of Claim Form For Summary Execution Victims by Moel Engada by Trinida
Engada
4248 | PROOF of Claim Form For Summary Execution Victims by Maria Furoc by Annabelle
Furoc Alfonso
4249 | PROOF of Claim Form For Summary Execution Victims by Maria Furoc by Annabelle
Furoc ALfonso
4250 | PROOF of Claim Form For Summary Execution Victims by Napoleon Nestor S$. Perez by
Wilfreda S. Perez
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PLAINTIFF DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS [HUMAN RIGHTS LITIGATION

pocket No. MDL 840.

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1999
Apr 19 /4251 | PROOF of Claim Form For Summary Execution Victims by Ruperto B. Fabilloren by
Rosalea M. Fabilloren
4252 | PROOF. of Claim Form For Summary Execution Victims by Francisco.B. Panorel by
Quirino 8. Panorel
4253 | PROOF of Claim Form For Summary Execution Victims by Anatalio J. Campo by Consorct
A. Vda De Campo
4254 PROOF of Claim Form For Summary Execution Victims by Joji S$. Paduano by Zenaida
S. Paduano
4255 | PROOF of Claim Form For. Summary Execution Victims by Prudito Pcena by Cesaria
O. Ocena -
4256 PROOF of Claim Form For Summary Execution Victims by Pablo A. Delmonte by
Tiuminado Quirubin
4257 | PROOF of Claim Form For Summary Execution Victims by Pablo Mancao Racho by
Marcelino Mancao
4258 | PROOF of Claim Form For Summary Execution Victims by Lucas Rivera Dalaygon by
Eimie C. Rivera
4259 | PROOF of Claim Form For Summary Execution Victims by Divino C. Garcia by Primo
Garcia .
4260 (PROOF of Claim Form For Summary Execution Victims by Honoria Velencia by Petronili
Velencia
4261 | PROOF. of Claim Form For Summary Execution Victims by Samsudon K. Tahir by Vubaida
M. Tahir :
4262 |PROOF of Claim Form. For Summary Execution Victims by Baltazar A. Base by Catalina
Base
4263 | PROOF of Claim Form For Summary Execution Victims by Edwin P. Baua by Romeo P.
Baua
4264 | PROOF of Claim Form For Summary Execution Victims by Mario Barila by Nenita Barild
4265 PROOF of Claim Form For Summary Execution Victims by Vergilio Magtibay, Marilyn
-Magtibay, Rosario Magtibay, Fredie Magtibay and Emma Magtibay by Consolacion
Magtibay :
4266 PROOF of Claim Form For Summary Execution Victims by Benjamin T. Jazmin by Teresit
C. Jazmin
4267 |PROOF of Claim Form For Summary Execution Victims by Rafael Peter M. Pasiwen by
Evangeline D. Pasiwen
4268 (PROOF of Claim Form For Summary Execution Victims by Virgilio Magtibay, Marilyn
Magtibay, Rosario Magtibay, Fredie Magtibay and Emma Magribay by Consolacion
Magtibay
4269 PROOF of Claim Form For Summary Execution Victims by Ismael C. Patiag by Bienvenic
A. Patiag :
4270 PROOF of Claim Form For Summary Execution Victims by Romeo B. Martega by Flocerfic
Mortega os
4271 | PROOF of Claim Form For Summary Execution Victims by Florentino N. Emero by Alicig
C. Emero
4272 (PROOF of Claim Form For Summary Execution Victims by Francisco Alagao by Elvie
Alagao
4273 PROOF of Claim Form For Summary Execution Victims by Teodoro Malaque, Sr. by
Fedila Malaque
4274 |PROOF of Claim Form For Summary Execution Victims by Benjamen Atip by. Roger V. de
los Angeles
4275 (PROOF of Claim Form For Summary Execution Victims by Gabriel de los Angeles
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pocket No. MDL 840
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DATE NR. | PROCEEDINGS
1999 :
Apr 19 4276 | PROOF of Claim Form For Summary Execution Victims by Rodeto P. Lopez by Dionisio
P. Lopez, Jr.
_4277 0 PROOF of Claim Form For Summary Execution Victims by Percibal C. Onido by Regina
B. Onido
| 4278 | PROOF of Claim Form For Summary Execution Victims by Teofilo Hence Belle by
: Prmitiva Bello
4279) PROOF of Claim Form For Summary Execution Victims by Pedro C. Segura by Rosalia
C. Segura
/ 4280 | PROOF of Claim Form For Summary Execution Victims by Dominggo S. Canete by
Baldomero B. Canete
4281 | PROOF of Claim Form For Summary Execution Victims by Myra C. Castillo by Fe
: Castillo
|4282 > PROOF of Claim Form For Summary Execution Victims by Ralph J. Dumat-01 by
Consolacion J. Dumat-O1
: 4283 PROOF of Claim Form For Summary Execution Victims by Filomeno Munez Cafangpangan
by Felicisma C. Cafangpangan
/ 4284 PROOF of Claim Form For Summary Execution Victims by Lorenzo B. Barrueso by
Pilarita B. Bernate
4285 | PROOF of Claim Form For Summary Execution Victims by Donoteo Barabadan
4286 | PROOF of Claim Form For Summary Execution Victims by Pepe Diego by Gloria Diego
4287 | PROOF of Claim Form For Summary Execution Victims by Gaudencio Pabatigan by
Epitania Labatigan
4288 | PROOF of Claim Form For Summary Execution Victims by Moises V. Ilapan by Anastacip
I. LIlipan
4289 | PROOF of Claim Form For Summary Execution Victims by Felixz Ampoloquio by Lucrecia
A. Monte
4290 | PROOF of Claim Form For Summary Execution Victims by Norma A. Molena by Pabiocla
0. Solidarios
4291 | PROOF of Claim Form For Summary Execution Victims by Hardencio Miranda and Audina
E. Miranda by Apolonio G. Miranda
4292 | PROOF of Claim Form For Summary Execution Victims by Alfredo Sosing by Eva B.
Sosing
4293 | PROOF of Claim Form For Summary Execution Victims by Virgilio 0. Labong by Jovita
A. Labong :
4294 | PROOF of Claim Form For Summary Execution Victims by Elpidio Balagapo by Lusanta
Cc. Balgapo oO
4295 | PROOF of Claim Form For Summary Execution Victims by Bonifacio Bautista by
Diosdado C. Bautista
4296 | PROOF of Claim Form For Summary Execution Victims by Fortunato F, Bautista by
Eulalia J. Bautista
4297 | PROOF of Glaim Form For Summary Execution Victims by Nestor Lazarra by Gloria 0.
Lazarra
4298 | PROOF of Claim Form For Summary Execution Victims by Venito Enilo by Vibencio
Enilo
4299 | PROOF of Claim Form For Summary Execution Victims by Pepito P. Lopez
4300 | PROOF of Claim Form For Summary Execution Victims by Peter Elmo M. Elman by Amalia
Elman
4301 | PROOF of Claim Form For Summary Execution Victims by Costodio B. Avendano by
Cesario A. Avedano
4302 | PROOF of Claim Form For Summary Execution Victims by Chaddie A. Icao, Sr. by
Ruth A. Icao

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

EN RE: ESTATE OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

pocket No, MDL 840 _

PAGE 1620F____ PAGES
DATE NR. | PROCEEDINGS
1999
Apr 19 |4303 | PROOF of Claim Form For Summary Execution Victime by Victor 8. Baguio by
Florentino C, Baguio . .
4304 |PROOF of Claim Form For Summary Execution Victims by Jaime Nalix by Concordia C.
Nalix
4305 !PROOF of Claim Form For Summary Execution Victims by Domingo "Boy" Y. Ducado, Jr.
by Della DBD. Billones
4306 [PROOF of Claim Form For Summary Execution Victims by Saluador Q. Labong by Jovita
A. Labong
4307 |PROOF of Claim Form For Summary Execution Victims by Lorenzo R. ALgria by Jovita
A. Labong
4308 PROOF of Claim Form For Summary Execution Victims by Epifanio C. Celeda by Josefa
. N. Celada.
4309 [PROOF of Claim Form For Summary Execution. Victims by Florian P. Cubarol, Ariel P.
Cubarol and Cenon Piollo by Alberto G. Cubarol, Sr.
4310 | PROOF of Claim Form For Summary Execution Victims by Miguel Tablon Namit by Lucia
Tablon Namit
4311 |PROOF of Claim Form For Summary Execution Victims by Pablito B. Amoguez by Juanita
B. Amoguez
4312 |PROOF of Claim Form For Summary Execution Victims by Leonardo M. Delos Santos by
Leonila De Los Santos
4313 |PROOF of Claim Form For Summary Execution Victims by Vicente 3B. Bueno by Carmen
Nueno Cirujales
4314 |PROOF of Claim Form For Summary Execution Victims by Modesto P. Alegria by Alfonsd
Obliocpas
4315 |PROOF of Claim Form For Summary Execution Victims by Pedro Basalo by Pilar B.
Basalo
4316 |PROOF of Claim Form For Summary Execution Victims by Eleuteria Ricaporte
4317 |PROOF of Claim Form For Summary Execution Victims by Acquilo L. Guminta by Florendia
Guminta
4318 PROOF of Claim Form For Summary Execution Victims by Alberto Aquino Ducusin by
Alejandra B. Ducusin
4319 | PROOF of Claim Form For Summary Execution Victims by Simplicio Turqueza by
Jesus B. Turqueza
4320 : PROOF of Claim Form For Summary Execution Victims by Vergilio Magtibay, Marilyn
Magtibay, Rosario Magtibay, Fredie Magtibay and Emma Magtibay by Consolacion
. G&G. Magtibay
4321 |PROOF of Claim Form For Summary Execution Victims by Vergilio Magtibay, Marilyn
Magtibay, Rosario Magtibay, Fredie Magtibay and Emma Magtibay by Consolacion
G. Magtibay
4322 (PROOF of Claim Form For Summary Execution Victims by Emerlinda A. de Mesa by
Tomasa A. de Mesa
4323 (PROOF of Claim Form For Summary Execution Victims by Pedro B. An by Federico
A. An
4324 (Statement by Guiamaludin Samad
4325 |Statement by Cesario 0. Revellas
4326 (Statement by Bulilo Dagundos
4327 (Statement by josua Jumanog
4328 {Statement by Melchor B. Tumatao and Erlinda B. Tumatao
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IN RE: ESTATE OF FERDINAND £. MARCOS HUMAN RIGHTS LITIGATION
PAGE LB30F PAGES

PROCEEDINGS

Apr 19 4329 | RECORD of Hours Charged ~ on behalf of Claimants Victor B. Lovely, Jr., Jose B.
Lovely, Victorino C. Dongallo, M.D., Estate of Andrea B. Lovely (by Victor
B. Lovely, Jr., Next of Kin of Beneficiary), Estate of Baltazar B. Lovely
(by Sonia S. Lovely, Next of Kin or Beneficiary, by Victor B. Lovely, Jr.,
Attorney In Fact), and Estate of Lucio 0. Abaion (by Maria Annatolia L.
Abalon, Next of Kin or Beneficiary) - [C€v 86-330, 86-390}

20 4330 EO: Named Class Plaintiffs Celsa Hilao, Adora Faye De Vera, Arturo Revilla, Renatd
Pineda, Jose Duran and Paula Romero's. Motion to Recuse the Honorable Manuel L.
Real From Determining The Fairness of The Settlement and Class Counsel's
Motion For Attorneys Fees and Costs is hereby Referred to Judge Susan Oki
Moliway for Consideration. (ec: Judge Manuel L. Real, Judge Susan Oki
Mollway, Leslie Sai, Ctrm Deputy for Judge Mollway, All Parties) EZRA
4331 | Class Counsel's Memorandum of Law In Opposition To The Motion to Recuse The
Honorable Manuel L. Real From Determining The Fairness of The Settlement
And Class Counsel's Motion For Attorneys’ Fees and Costs; Certificate of
Service - [Cv 86-330, 86-390]

» 4332 | PROOF of Claim Form For Torture Victims by Gerardo A. Abbang

4333 | PROOF of Claim Form For Torture Victims by Dolores A. Dante

4334 | PROOF of Claim Form For Torture Victims by Alex M: Mabini

4335 PROOF of Claim Form For Torture Victims by Rodrigo Colocado, Deceased by Editha
Colocado

4336 | PROOF of Claim Form For Torture Victims by Gil A. Abainza

4337 PROOF of Claim Form For Torture Victims by Vecente Cabornay

4338 | PROOF of Claim Form For Torture Victims by Federico C. Cinco

4339 | PROOF of Claim Form For Torture Victims by Juan Catubag Tabbu

4340 | PROOF of Claim Form For Torture Victims by Rosemarie Jimeno

4341 | PROOF of Claim Form For Torture Victims by Reynaldo Mendoza

4342 | PROOF of Claim Form For Torture Victims by Jeanna B. Enriquez

4343 | PROOF of Claim Form For Torture Victims by Roberto Amion

4344 | PROGF of Claim Form For Torture Victims by Arsulo P. Lagaga

4345 | PROOF of Claim Form For Torture Victims by Losanto Bacsal

4346 | PROOF of Claim Form For Torture Victims by Rafael K. Tablada

4347 | PROOF of Claim Form For Torture Victims by Felicidad V. Sapico

4348 | PROOF of Claim Form For Torture Victims by Roberto M. Balundo

4349 | PROOF of Claim Form For Torture Victims by Felicidad A. Deguito, Deceased by
Luisa G. Deguito

4350 | PROOF of Claim Form For Torture Victims by Diego P. Sapico

4351 . PROOF of Claim Form For Torture Victims by Maureen Trance Linan

4352 | PROOF of Claim Form For Torture Victims by Joel De Campo, Deceased by Gaudencio
De Ocampo, Jr.

4353 | PROOF of Claim Form For Torture Victims by Loreto M. Nieva

4354 | PROOF of Claim Form For Torture Victims by Jose J. Linan

4355 | PROOF of Claim Form For Torture Victims by Lauro H. Hizala

4356 PROOF of Claim Form For Torture Victims by Ehaio H. Evasco, Deceased by Norberto
Evasco

4357 | PROOF of Claim Form For Torture Victims by Ronnié 2. Salgado

4358 | PROOF of Claim Form For Torture Victims by Dionisio R. Calisura

4359 | PROOF of Claim Form For Torture Victims by Yunila Moslares

4360 | PROOF of Claim Form For Torture Victims by Gavino M. Libao

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Romarico N. Deguito

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DATE NR.
1999
Apr 20 .4361 |PROOF of Claim Form For Torture Victims by Diosdado H. Oro

4362 (PROOF of Claim Form For Torture Victims by Amor Calisura Mamauag

4363 [PROOF of Claim Form For Torture Victims by Dominador Mamangun

4364 |PROOF of Claim Form For Torture Victims by Crispina H. Cidro

4365 |PROOF of Claim Form For Torture Victims by Marydel M. Flores-Canezal

4366 | PROOF of Claim Form For Torture Victims by Rene J. Sacal

4367 | PROOF of Claim Form For Torture Victims by Diego Lurina

4368 PROOF of Claim Form For Torture Victims by Rogelio R. Gonzales

4369 {| PROOF of Claim Form For Torture Victims by Rock G. Reazon

4370 | PROOF of Claim Form For Torture Victims by Santos Cabaljao

4371 |PROOF of Claim Form For Torture Victims by Lorenzo Oborza, Deceased by Agatona
Oborza Bellena

4372 |PROOF of Claim Form For Torture Victims by Dominador R. Progoso, Deceased by
Regina M. Progosa

4373 :;PROOF of Claim Form For Torture Victims by Deifin Dioso

4374 |PROOF of Claim Form For Torture Victims by Severino Dalisay

4375 |PROOF of Claim Form For Torture Victims by Zenaida P. Pineda

4376 |PROOF of Claim Form For Torture Victims by Richard De Leon

4377 |PROOF of Claim Form For Torture Victims by Dominador Fallorina Rintantan

4378 | PROOF of Claim Form For Torture Victims by Fernanda Mosca Rintantan

4379 {PROOF of Claim Form For Torture Victims by Nemesio Anober, Sr.

4380 {PROOF of Claim Form For Torture Victims by Eugenio Estera

4381 |PROOF of Claim Form For Torture Victims by Porfirio C. Nablo

4382 |PROOF of Claim Form For Torture Victims by Lerenzo Portinto

4383 ;PROOF of Claim Form For Torture Victims by Ramer Perlas

4384 (PROOF of Claim Form For Torture Victims by Venancio P. Del Mundo

4385 |PROOF of Claim Form For Torture Victims by Anacleto R. Remento

4386 |PROOF of Claim Form For Torture Victims by Isidro M. Perida

4387 (PROOF of Claim Form For Torture Victims by Ernestro Patrimonio

4388 |PROOF of Claim Form For Torture Victims by Romulus B. Dingcong

4389 (PROOF of Claim Form For Torture Victims by Cristita L. Jamomay

4390 |PROOF of Claim Form For Torture Victims by Santos Laguitin, Lolita Lagnitin,
Letty Laguitin, Lenny Laguitin, Rolito Laguitin, Charlito Laguitin, Agustina
Cubita, All Deceased by Mercuria C. Requeza

4391 (PROOF of Claim Form For Torture Victims by Jimmy Sumaylo

4392 |PROOF of Claim Form For Torture Victims by Patrocenio Fernandez

4393 |PROOF of Claim Form For Torture Victims by Eric F. Nacasabog

4394 |PROOF of Claim Form For Torture Victims by Federico Salvador, Jr.

4395 (PROOF of Claim Form For Torture Victims by Leonardo Manalop

4396 (PROOF of Claim Form For Torture Victims by Jimmy Rulona

4397 |PROOF of Claim Form For Torture Victims by Gloria Loncido Vda de Alia

4398 |PROOF of Claim Form For Torture Victims by Alfredo P. Galaroza

4399 {PROOF of Claim Form For Torture Victims by Ramon T. Diaz, Jr.

4400 (PROOF of Claim Form For Torture Victims by Jose R. Sapico

4401 |PROOF of Claim Form For Torture Victims by Castor F. Flavier

4402 (PROOF of Claim Form For Torture Victims by Oscar Tolentino, Deceased by Tluminada
Cc. Tolentino

4403 (PROOF of Claim Form For Torture Victims by Nicanor Mentang, Deceased by Warlita
Mentang

4404 |PROOF of Claim Form For Torture Victims by Romarico N. Deguito

4405 |PROOF of Claim Form For Torture Victims by Teofilo LL. Quimson, Deceased by

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' 1999
Apr 20 4406 PROOF of Claim Form For Torture Victims by Jesus C. Doligon, Deceased by Letecia
: : A. Boligon
4407) PROOF of Claim Form For Torture Victims by Wenifredo Obias
/ 4408 PROOF of Claim Form For Torture Victims by Bernabe P. Ricamara
| 4409 | PROOF of Claim Form For Torture Victims by Andres P. Ricamara
| 4410 PROOF of Claim Form For Torture Victims by Vicente Dacallos
' 4411 | PROOF of Claim Form For Torture Victims by Igmendio Loresto
4412 PROOF of Claim Form For Torture Victims by Jelo G. Diaz, Deceased by Estela G. Dipz
| 4413 PROOF of Claim Form For Torture Victims by Leo A. Santillan
4414 PROOF of Claim Form For Torture Victims by Darius C. Huinda
| 4415 > PROOF of Claim Form For Torture Victims by Degolacion Dela Cruz
4416 PROOF of Claim Form For Torture Victims by Eduarde P. Guazon, Jr., Deceased by
: Felicitas Griar Guazon
/ 4417 PROOF of Claim Form For Torture Victims by Romeo Burns Covezy
| 4418 PROOF of Claim Form For Torture Victims by Pablo General Medalla, Deceased by
Soprena R. Medalla
4419) PROOF of Claim Form For Torture Victims by Norberto B. Castillo
| 4420 PROOF of Claim Form For Torture Victims by Juanito 5. Maravilla
| 4421 PROOF of Claim Form For Torture Victims by Ramon B. Lovina
4422 PROOF of Claim Form For Torture Victims by Venerando B. Ida
4423 | PROOF of Claim Form For Torture Victims by Oscar Pineda
4424 PROOF of Claim Form For Torture Victims by Probe A. Lucban, Deceased by Fructuosa
A. Lucban
4425 | PROOF of Claim Form For Torture Victims by Julio Canceran
4426 PROOF of Claim Form For Torture Victims by Elito Matias, Deceased by Evelyn M.
Heramis
4427 | PROOF of Claim Form For Torture Victims by Rodolfo Lancheta
4428 | PROOF of Claim Form For Torture Victims by Dante Flores Nasiad
4429 > PROOF of Claim Form For Torture Victims by Edgardo F. Merecida
4430! PROOF of Claim Form For Torture Victims by Henry R. Cobing
4431 | PROOF of Claim Form For Torture Victims by Arlyn 2. Cobing
4432 PROOF of Claim Form For Torture Victims by Sotero C. Huinda, Jr.
4433 | PROOF of Claim Form For Torture Victims by Myrna Senonis
4434 | PROOF of Claim Form For Torture Victims by Enrique S$. Gumisao
4435 | PROOF of Claim Form For Torture Victims by Francisco E. Flores
4436 | PROOF of Claim Form For Torture Victims by Armando T. Osorio
4437} PROOF of Claim Form For Torture Victims by Carmen T. Florida~Lagmay
4438 | PROOF of Claim Form For Torture Victims by Adrian S. Lambo
4439 | PROOF of Claim Form For Torture Victims by Eufemia D. Geldore
4440 PROOF of Claim Form For Torture Victims by Teodorico F. Reyes, Deceased by Lourdes
QO. Reyes
444] | PROOF of Claim Form For Torture Victims by Alfredo C. Cadagdagon
4442 | PROOF of Claim Form For Torture Victims by Oscar T. Florida
4443 | PROOF of Claim Form For Torture Victims by Esteban Cobol, Deceased by Marcelina
Cobol
4444 | PROOF of Claim Form For Torture Victims by Venancio Recohermoso
4445) PROOF of Glaim Form For Torture Victims by Cayetano D. Lurina
4446 | PROOF of Claim Form For Torture Victims by Angelina de Luna
4447 | PROOF of Claim Form For Torture Victims by Medesto B. Uliaquim
4448 | PROOF of Claim Form For Torture Victims by Ramon Eslao
4449 | PROOF of Claim Form For Torture Victims by Hermogenes P. Retardo

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PLAINTIFF DEFENDANT
pocKker no. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS ‘HUMAN REGHTS LITIGATION
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DATE NR. PROCEEDINGS
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Apr 20 4450] PROOF of Claim Form For Torture Victims by Ambrocia 5. Palermo
4451; PROOF of Claim Form Fer Torture Victims by Shirley A. Palermo
4452) PROOF of Claim Form For Terture Victims by Sedang Cuiamadil
4453} PROOF of Claim Form For Torture Victims by Midpanto Mamao
4454) PROOF of Claim Form For Torture Victims by Regino E. Rata
4455; PROOF of Claim Form For Torture Victims by Andres §. Sailog
44561) PROOF of Claim Form For Torture Victims by Dioscoro M. Faunillan
4457| PROOF of Claim Form For Torture Victims by Jose Rapada Y. Olveron, Deceased by
BRugenio C. Rapada, Sr.
4458| PROOF of Claim Form For Torture Victims by Liwayway Diffun Quirine, Deceased by
Marcelina C. Dela Cruz
4459, PROOF of Claim Form For Torture Victims by Heracleo T. Decierdo
4460, PROOF of Claim Form For Torture Victims by Lito Antamag
44611 PROOF of Claim Form For Torture Victims by Iluminado C€. Bagsic
4462) PROOF of Claim Form For Torture Victims by Corsine D. Mendoza
4463) PROOF of Claim Form For Torture Victims by Arnulfo D. Lara, Deceased by Rosalia
D. Lara
4464) PROOF of Claim Form For Torture Victims by Florcefida R. Sailog
4465, PROOF of Claim Form For Torture Victims by Jimmy I. Nabalde
4466, PROOF of Claim Form For Torture Victims by Generosa G. Rata
4467| PROOF of Claim Form For Torture Victims by Teresita Perlas Portento
4468: PROOF of Claim Form For Torture Victims by Delfin Pizarra
4469) PROOF of Claim Form For Torture Victims by Regelio de los Santos
4470| PROOF of Claim Form For Torture Victims by Noel M. Paraiso, deceased by Rosario
Manguay Paraiso
4471, PROOF of Claim Form For Torture Victims by Iluminado M. Paraiso
44/2; PROOF of Claim Form For Torture Victims by Eulaio M. Evangelista
4473| PROOF of Claim Form For Torture Victims by Wilson Alvarez Cervantes
4474| PROOF of Claim Form For Torture Victims by Leonila Omotoy, deceased by Rufo
Omotoy .
4475: PROOF of Claim Form For Torture Victims by Rogelio Gambol
4476| PROOF of Claim Form For Torture Victims by Leon Palermo
4477| PROOF of Claim Form For Torture Victims by Leon Palermo, Jr.
4478| PROOF of Claim Form For Torture Victims by Rogelio Japitana
4479; PROOF of Claim Form For Torture Victims by Jaime Japitana, Jr.
4480| PROOF of Claim Form For Torture Victims by Joel Quiamco
4481) PROOF of Claim Form For Torture Victims by Aniceta Portales
4482, PROOF of Claim Form For Torture Victims by Teodato G. Dacanay
4483; PROOF of Claim Form For Torture Victims by Jesus B. Mabansag
4484, PROOF of Claim Form For Torture Victims by Yolanda H. Bollido
4485! PROOF of Claim Form For Torture Victims by Cecilia D. Pagsuguiron
4486| PROOF of Claim Form For Torture Victims by Rogelio Cabasa
4487) PROOF of Claim Form For Torture Victims by Teodoro 8. Villareal
4488| PROOF of Claim Form For Torture Victims by Adela P. Diaz
4489) PROOF of Claim Form For Torture Victims by Anelino Fernando
4490; PROOF of Claim Form For Torture Victims by Silverio Marjinado
4491; PROOF of Claim Form For Torture Victims by Placida 0. Monzon
4492| PROOF of Claim Form For Torture Victims by Gerry Abe Cabaliero
4493| PROOF of Claim Form For Torture Victims by Doroteo Be Jose
4494| PROOF of Claim Form For Torture Victims by Domindor Domingo
4495) PROOF of Claim Form For Torture Victims by Flordeliza V. Bolastig
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CIVIL DOCKET CONTINUATION SHEET
“PLAINTIFF DEPENDANT

IN RE: ESTATE OF FERDINAND E£. MARCOS HUMAN RIGHTS LITIGATION

packer no. MDL 840

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PROCEEOINGS

DATE
' 1999
Apr 20 | 4496. PROOF of Claim Form For Torture Victims by ALfredo C. Bolastig, Sr.
4437 | PROOF of Claim Form For Torture Victims by Alberte R. Vasquez, Deceased by Gloria
V. Vasquez
4498 PROOF of Claim Form For Torture Victims by Welsa Saromines Puerto, Deceased by
Elenterio C. Puerto, Sr.
/ 4499 ) PROOF of Claim Form For Torture Victims by Gilbert Puerto
4500 PROOF of Claim Form For Torture Victims by Edmundo M. Diaz
4501 > PROOF of Claim Form Fer Torture Victims by Peter P. Cuales, Sr.
4502 PROOF of Claim Form For Torture Victims by Marilyn Francisca
4503 : PROOF of Claim Form For Torture Victims by Salvador Bungag Baddal
4504 PROOF of Claim Form For Torture Victims by Zenaida V. Mallari
4505 PROOF of Claim Form For Torture Victims by Jovy Bandolo
4506 PROOF of Claim. Form For Torture Victims by Ventura C. Kalaw
| 4507 PROOF of Claim. Form For Torture Victims by Fortunato A. Pedoy
4508 PROOF of Claim Form For Torture Victims. by Guillerma M. Lumpayao Pelar
4509 | PROOF of Claim Form For Torture Victims by Vicente Z. Pesonila
4510 | PROOF of Claim Form For Torture Victims by German Manayon
4511 PROOF of Claim Form For Torture Victims by Crisanta Maligro
4512 | PROOF of Claim Form For Torture Victims by Bonifacio Galdiano
4513 ! PROOF of Claim Form For Torture Victime by Jacinto B. Baya
4514 | PROOF of Claim Form For Torture Victims by Jose Alumyo Salvana
4515 | PROOF of Claim Form For Torture Victims by Elizalde Artagame
4516 | PROOF of Claim Form For Torture Victims by Rolando Espanto
4517 | PROOF of Claim Form For Torture Victims by Eustaquio R. Torreon
4518 | PROOF of Claim Form For Torture Victims by Arcadio Ladeza
4519 | PROOF of Claim Form For Torture Victims by Ramon T. Std Domingo
4520 ) PROOF of Claim Form For Torture Victims by Rolando Testor Domingo
4521 | PROOF of Claim Form For Torture Victims by Victorio Gregory, Deceased by Gloria
Gregory Navarre
4522 | PROOF of Claim Form For Disappearance Victims by Badal Nabadtog by Muguialat
Nabadtog
4523 | PROOF of Claim Form For Disappearance Victims by Usop Nabadtog by Muguialat
Nabadtog
4524 _ PROOF of Claim Form For Disappearance Victims by David Bagkeled
4525 | PROOF of Claim Form For Disappearance Victims by Amin Nanding by Salima Nanding
4526 | PROOF of Claim Form For Disappearance Victims by Kaido Ugakingan
4527 | PROOF of Claim Form For Disappearance Victims by Mamasa Maguindanao B. Moda by
Sunang M. Pangcoga
4528 | PROOF of Claim Form For Disappearance Victims by Arumpac Moda by Sunang M.
Pangcoga
4529 | PROOF of Claim Form For Disappearance Victims by Eduardo Mallesta by Mercedes B.
Cabarong
4530 | PROOF of Claim Form For Disappearance Victims by Rodrigo Peregrino by Pablo
Peregrino
4531 | PROOF of Claim Form For Disappearance Victims by Rosauro P. Baldejueza by Carmen
Balde jueza
4532 | PROOF of Claim Form For Disappearance Victims by Dimaudtang Makalintangi
4533 | PROOF of Claim Form For Disappearance Victims by Bienuvido Oblino, Sr. by
Guniganda L. Oblino
4534 | PROOF of Claim Form For Disappearance Victims by Antonio C. Ariado by Anita A.
Grafilo
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

EN RE: ESTATE OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

pecker No. MDL 840

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PROCEEDINGS

DATE
1999
Apr 20 4535 PROOF of Claim Form For Disappearance Victims by Teofilo Lanzaderas by Basilisa
Lanzaderas
4536} PROOF of Claim Form For Disappearance Victims by Lilito R. Limaco by Liberata
S. Limaco
4537! PROOF of Claim Form For Disappearance Victims by Tomas Amistad y Valdemore by
Felomino V. Amistad, Jr.
4538| PROOF of Claim Form For Disappearance Victims by Edgardo S. Guevara by Alex 58.
Guevara ,
4539; PROOF of Claim Form For Disappearance Victims by Abedin Aliman by Karim M.
Rembayong
4540} PROOF of Claim Form For Disappearance Victims by Pilinio Abainza by Teresita
Padullana
4541) PROOF of Claim Form For Disappearance Victims by Edgar Canete by Pamdilo Canete
4542| PROOF of Claim Form For Disappearance Victims by Romualdo E. Dabuet by Eulalia
D. Ebias
4543) PROOF of Claim Form For Disappearance Victims by Salima Nanding
4544| PROOF of Claim Form For Disappearance Victims by Kamad Asao by Salasal Asao
4545! PROOF of Claim Form For Disappearance Victims by Sumagayan Asao by Solto Asao
4546, PROOF of Claim Form For Disappearance Victims by Felipe Badion Mosca by Fernanda
M, Rintantan
4547| PROOF of Claim Form For Disappearance Victims by Mario C. Maglangit by Pedro &.
Malangit, Sr.
4548| PROOF of Claim Form For Disappearance Victims by Conrado A. Mercader by Alfredo
L. Mercader, Sr.
4549, PROOF of Claim Form For Disappearance Victims by Victor Modrigo y Dula by Arcadia
L. Modrigo
4550} PROOF of Claim Form For Summary Execution Victims by Felicismo OG. Rapada, Jr. by
Rosita Rapada-Villamor
4551) PROOF of Claim Form For Summary Execution Victims by Mosali Lawan by Zolika Laway
4552) PROOF of Claim Form For Summary Execution Victims by Fernando B. Ida by Bonifacid
B. Ida
4553] PROOF of Claim Form For Summary Execution Victims by Georgen Tubo Repullo by
Julian M, Repullo
4554; PROOF of Claim Form For Summary Execution Victims by Federico B. Lumabao by
Zenaida Lumabao
4555| PROOF of Claim Form For Summary Execution Victims by Jesus B. Arcite by Dolores
Arcite
4556] PROOF of Claim Form For Summary Execution Victims by Gene Baliad by Marioe E.
Baliad ,
4557| PROOF of Claim Form For Summary Execution Victims by Antonio Duclay by Lucilo
Duclay
4558) PROOF of Claim Form For Summary Execution Victims by Ludencio D. Agron by
Leonardo Agron
4559| PROOF of Claim Form For Summary Execution Victims by Ernesto Balbag by Manuel
Molina
4560; PROOF of Claim Form For Summary Execution Victims by Felimon Bitogan by Regina
Bitogan
4561} PROOF of Claim Form For Summary Execution Victims by Freddie Bannar by Francisca
Bannar
4562) PROOF of Claim Form For Summary Execution Victims by Carlino B. Gango by Linda

G. Tangonan

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEPENDANT

IN RE: ESTATE OF FERDINAND E.

MARCOS HUMAN RIGHTS LITIGATION

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DATE NR PROCEEDINGS
1999
Apr 20 4563 . PROOF of Claim Form For Summary Execution Victims by Nemecio C.. Valdez by
Encarnacion Valdez
/ 4564 | PROOF of Claim Form For Summary Execution Victims by Bacarias Z. Catayo by Cesari
Cc. Catayo
4565 | PROOF of Claim Form For Summary Execution Victims by Inego Obinguar by Rufina
Obinguar
/ 4566 | PROOF of Claim Form For Summary Execution Victims by Saturtine §. Saniel by
Vicenta $. Quine
/4567 | PROOF of Claim Form For Summary Execution Victims by Pudang G. Guiaman by Kedto
G. Guiaman
4568 PROOF of Claim Form For Summary Execution Victims by Romiguldo Dalisay by Fermina
G. Dalisay
/ 4569 . PROOF of Claim Form For Summary Execution Victims by Palingan Tampla by Kusain
: Tampa
4570 | PROOF of Claim Form For Summary Execution Victims by Takuken G. Izrael by Hadji
Ali G. Tzrael
4571 PROOF of Claim Form For Summary Execution Victims by Guinaton Uyag by Bengy Uyag
-4572 | PROOF of Claim Form For Summary Execution Victims by Benjamin Villamena by Sixto
Hinagrisan
4573 PROOF of Claim Form For Summary Execution Victims by Aurelio Domogho, Jr.
4574 | PROOF of Claim Form For Summary Execution Victims by Maximina Paloray Etol by
Agustina Paloray
4575 | PROOF of Claim Form For Summary Execution Victims by Bonifacio Tumagna by Leoncio
Papon
4576 | PROOF of Claim Form For Summary Execution Victims by Fernando T. Esperon by Aquil
T. Esperon
4577 | PROOF of Claim Form For Summary Execution Victims by Carlito M. Gaspar
4578 | PROOF of Claim Form For Summary Execution Victims by Kadil Oling Manial
4579 | PROOF of Claim Form For Summary Execution Victims by Filoteo Oriel Aningal by
Nelia Oriel Aningal
4580 | PROOF of Claim Form For Summary Execution Victims by Antonio Oriel Aningal by
Nelia Oriel Aningal
4581 | PROOF of Claim Form For Summary Execution Victims by Vicente Oriel Aningal by
Nelia Priel Aningal
4582 | PROOF of Claim Form For Summary Execution Victims by Billy Camingawan by Antonia
Camingawan
4583 | PROOF of Claim Form For Summary Execution Victims by Macario Sumandig by Mercedez
A. Sumandig
4584 PROOF of Claim Form For Summary Execution Victims by Kusain Bansil by Dalunuwan
Bansil
4585 | PROOF of Claim Form For Summary Execution Victims by Deguina Sumbaga by Anggao
Sumbaga
4586 PROOF of Claim Form For Summary Execution Victims by Munting Angkad by Esmael
Angkad
4587 | PROOF of Claim Form For Summary Execution Victims by Cerila 0. Belandres by Romeo
Belandres
4588 | PROOF of Claim Form For Summary Execution Victims by Rolando Alejandro by Frlita
Rata Alejandro
4589 | PROOF of Claim Form For Summary Execution Victims by Gregorio B. Baliguas by
Victoria 0. Baliguas
4590 | PROOF of Claim Form For Summary Execution Victims by Loreto Mamungay by Carolina
Mamungay
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF OEFENDANT
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IN RE: ESTATE OF FERDINAND E. MARCOS

HUMAN RIGHTS LITIGATION

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DATE NR. PROCEEDINGS
L999
Apr 20 | 4591; PROOF of Claim Form For Summary Execution Victims by Sixto M. Alejandrino by
Antoinette M. Alejandrino
4592| PROOF of Claim Form For Summary Execution Victims by Maria Luz Mondejar by Rosita
Monde jar
4593) PROOF of Claim Form For Summary Execution Victims by Rubina Franco by Tessie
Franco
4594: PROOF of Claim Form For Summary Execution Victims by Nenita Orot by Susana Orot
4595] PROOF of Claim Form For Summary Execution Victims by Abundia Cara~-at by Placido
Cara-at
4596: PROOF of Claim Form For Summary Execution Victims by Demetrio A. Lobres by Pilar
L. Mabansag
4597 | PROOF of Claim Form For Summary Execution Victims by Ofredo A. Nabio by Marita
N. Abarracoso
4598| PROOF of Claim Form For Summary Execution Victims by Antonio Lulo Llabres by
Maria Lourdes Pedrigal
4599| PROOF of Claim Form For Summary Execution Victims by Juan 8B. banton by Edwin 5S.
Banton
4600/ PROOF of Claim Form For Summary Execution Victims by Magdaleno Balanto by Santiage
Balanto
4601) PROOF of Claim Form For Summary Execution Victims by Jose Patrocingog
4602 | PROOF of Claim Form For Summary Execution Victims by Jovy Puerto
4603) PROOF of Claim Form For Summary Execution Victims by William Alegre by Consuelo
Alegre
4604, PROOF of Claim Form For Summary Execution Victims by Anelito Caneda by Marina
Amacioa
4605| PROOF of Claim Form For Summary Execution Victims by Sulpicie M. Canatoy by
Rosita M. Canatoy
4606) PROOF of Claim Form For Summary Execution Victims by Gelonimo Baque by Pilar Baque
4607 PROOF of Claim Form For Summary Execution Victims by Porferio Puerto by Elenterid
Puerto, Sr.
4608) PROOF of Claim Form For Summary Execution Victims by Victorino De Los Santos by
Anita Be Los Santos
4609' PROOF of Claim Form For Summary Execution Victims by Victorino De Los Santos by
Anita De Los Santos
4610| PROOF of Claim Form For Summary Execution Victims by Jose D. Barnes by Elenita
M. Barnes
4611, PROOF of Claim Form For Summary Execution Victims by Audina Eda by Ernesto Eda
4612; PROOF of Claim Form For Summary Execution Victims by Sergie Maningo Cabusas by
Benedencia M. Cabusas
4613} PROOF of Claim Form For Summary Execution Victims by Ulama P. Ulangkaya by
Lupakan P. Ulangkaya
4614! PROOF of Claim Form For Summary Execution Victims by Adteg Usop
4615; PROOF of Claim Form For Summary Execution Victime by Daud M. Pankog by Tautin M.
Pangkog
4616| PROOF of Claim Form For Summary Execution Victims by Ali Mamasaunda by Abdul
Radsak Ali
4617) PROOF of Claim Form For Summary Execution Victims by Hilario Larry V. Flores by
Florentina V. Flores
4618| PROOF of Claim Form For Summary Execution Victims by Plang Salinduton by Andati
Salunduton
4619! PROOF of Claim Form For Summary Execution Victims by Antonio Tagbacaula Sr. by

